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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-01169-LTB-CBS

  SOLOMON BEN-TOV COHEN,
      Plaintiff,
  v.

  JOHN P. LONGSHORE, Field Office Director U.S. Dept. Of Homeland Security/ICE,
  and
  CAROLYN VAN BARNEVELDT, Mail Clerk El Paso County Sheriff’s Office, Colorado,
       Defendants.


                                         ORDER


  Magistrate Judge Craig B. Shaffer

        This civil action comes before the court on Plaintiff Mr. Cohen’s “Motion to

  Amend Complaint” (filed January 19, 2011) (Doc. # 49). Pursuant to the Order of

  Reference dated January 12, 2011 (Doc. # 43) and the memorandum dated January 20,

  2011 (Doc. # 50), this matter was referred to the Magistrate Judge. Defendants have

  not objected to Mr. Cohen’s Motion. On December 17, 2011, the case was reinstated

  pursuant to the December 13, 2010 mandate of the United States Court of Appeals for

  the Tenth Circuit. (See Docs. # 39 and # 38). The Tenth Circuit concluded that the

  district court had erred in denying Mr. Cohen’s previous tendered amendment to his

  pleading. Cohen v. Longshore, 621 F.3d 1311, 1318 (10th Cir. 2010).

        Accordingly, IT IS ORDERED that:

        1.     Plaintiff Mr. Cohen’s “Motion to Amend Complaint” (filed January 19,

  2011) (Doc. # 49) is GRANTED.

        2.     Mr. Cohen’s tendered “Prisoner Complaint” (Doc. # 49-1) is hereby

  accepted for filing as the Third Amended Complaint.
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        Dated at Denver, Colorado this 3rd day of March, 2011.

                                               BY THE COURT:



                                                  s/Craig B. Shaffer
                                               United States Magistrate Judge




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